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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Vitol, Inc.
                                           Plaintiff,
v.                                                          Case No.: 1:24−cv−01492
                                                            Honorable Manish S. Shah
Vega Capital London Limited, et al
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 12, 2024:


         MINUTE entry before the Honorable Manish S. Shah: The motion for leave to file
under seal [25] is granted, and no appearance on 9/17/24 is necessary. Vitol may file a
written response to the motion to reconsider by 9/23/24. No reply is permitted unless
requested by the court. Based on a preliminary review, the court is not convinced that
Vitol's interaction with CME is inconsistent with independent trading by Vitol traders, but
lifting the redactions on some communications related to CME may not be burdensome.
Notices Mailed. (psm, )




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